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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                      CASE NO.       24-60126-CR-LEIBOWITZ

  UNITED STATES OF AMERICA,

        Plaintiff,
  v.

  KISEAN PAUL ANDERSON
  a/k/a/ SEAN KINGSTON,

       Defendant.
  _______________________________/

   ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION TO CHANGE RESIDENCE

        THIS CAUSE came before the Court on the Defendant’s Unopposed

  Motion to Change Residence [ECF No. 123].           Being fully advised,

  and for the reasons stated in the Motion, it is ORDERED AND

  ADJUDGED that      the    Motion   is   GRANTED.   Defendant   Kisean   Paul

  Anderson shall be permitted to move to the residential address in

  Fort Lauderdale, Florida, provided to the Probation Department on

  June 13, 2025.

       DONE AND ORDERED in the Southern District of Florida on June
  17, 2025.




  cc:   counsel of record
